Case 8:17-cv-01397-JVS-JDE Document 68-1 Filed 07/18/18 Page 1 of 18 Page ID #:440




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   11
        Attorneys for Plaintiffs and the Class
   12

   13                          UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
   14

   15   MEGAN SCHMITT, DEANA                       Case No. 8:17-cv-01397-JVS-JDE
        REILLY, CAROL ORLOWSKY, and
   16   STEPHANIE MILLER BRUN,                     DECLARATION OF ADAM
   17
        individually and on behalf of              GONNELLI RE: PLAINTIFFS’ EX
        themselves and all others similarly        PARTE APPLICATION FOR
        situated,                                  EXTENSION OF SCHEDULING
   18                                              ORDER
                      Plaintiffs,
   19
               v.
   20
        YOUNIQUE, LLC,
   21
                      Defendant.
   22                                              Complaint Filed: 8/17/17
   23                                              Trial Date: 2/19/19
   24

   25

   26
   27

   28
                                                 -1-
                                    DECLARATION OF ADAM GONNELLI
Case 8:17-cv-01397-JVS-JDE Document 68-1 Filed 07/18/18 Page 2 of 18 Page ID #:441




    1                          DECLARATION OF ADAM GONNELLI
    2        My name is Adam Gonnelli, and I am counsel for Plaintiffs in the above-
    3 captioned action. This declaration is made in support of Plaintiffs’ Ex Parte

    4 Application to Modify the Scheduling Order.

    5        1.      On July 17, 2018, I sent a copy of the proposed email to Judge Early
    6 describing the discovery disputes to counsel for Defendant .(Exhibit 1)

    7        2.      On July 17, 2018 I emailed counsel for defendant and asked if they
    8 would consent to the proposed extension. (Exhibit 2)

    9        3.      On July 18, 2018 counsel for Defendant stated that they would review
   10 my email and respond either today, July 18, 2018, or tomorrow, July 19, 2018.

   11 (Exhibit 3.)

   12        4.      I responded asking if they could respond by close of business given the
   13 time frame.

   14        5.      At 5:01 p.m. on July 18, 2018, Defendant notified Plaintiffs that they
   15 would not stipulate to the extension of time requested in this ex parte application.

   16        6.      Plaintiffs notified Defendant with the filing of this application that
   17 Defendant has 24 hours to respond to the application.

   18        I declare under penalty of perjury under the laws of the United States and the
   19 State of California that the foregoing is true and correct.

   20

   21
        Dated: July 18, 2018
   22
                                                   /s/
   23                                             Adam Gonnelli, Declarant
   24

   25

   26
   27

   28
                                                  -2-
                                   DECLARATION OF ADAM GONNELLI
Case 8:17-cv-01397-JVS-JDE Document 68-1 Filed 07/18/18 Page 3 of 18 Page ID #:442




                 EXHIBIT 1
     Case 8:17-cv-01397-JVS-JDE Document 68-1 Filed 07/18/18 Page 4 of 18 Page ID #:443




From: Adam Gonnelli [mailto:Gonnellia@thesultzerlawgroup.com]  
Sent: Tuesday, July 17, 2018 3:21 PM 
To: Sascha Henry <SHenry@sheppardmullin.com> 
Cc: Jonathan Moss <JMoss@sheppardmullin.com>; Abby Meyer <AMeyer@sheppardmullin.com>; Bonner Walsh 
<bonner@walshpllc.com>; Alison Bernal <alison@nps‐law.com> 
Subject: RE: discovery in Younique case 
 
Sascha,

In anticipation of bringing the discovery issues before Judge Early, I have drafted the attached
email with blanks for you to insert Younique’s position.

Please return the draft with your additions by close of business tomorrow, July 18.

Best,

Adam Gonnelli
Best Regards,
Adam Gonnelli, Partner
Gonnellia@TheSultzerLawGroup.com  |  www.TheSultzerLawGroup.com
280 Highway 35, Suite 304 |  Red Bank, NJ 07701
Phone: (845) 483‐7100  |  Fax: (888) 749‐7747
 




                                                      
  
 
NEW YORK  |  PENNSYLVANIA  |  NEW JERSEY  |  CALIFORNIA
 
                                                                  1
      Case 8:17-cv-01397-JVS-JDE Document 68-1 Filed 07/18/18 Page 5 of 18 Page ID #:444
 


From: Adam Gonnelli  
Sent: Tuesday, July 17, 2018 5:08 PM 
To: 'Sascha Henry' <SHenry@sheppardmullin.com> 
Cc: Jonathan Moss <JMoss@sheppardmullin.com>; Abby Meyer <AMeyer@sheppardmullin.com>; Bonner Walsh 
<bonner@walshpllc.com>; 'Alison Bernal' <alison@nps‐law.com> 
Subject: discovery in Younique case 
 

Sascha, 

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are at an impasse on the following discovery issues: 

      1. Younique’s position that Plaintiffs cannot conduct any depositions besides the initial
         30(b)(6) and cannot serve subpoenas (like the Coyne subpoena). 
      2. The redactions of the cost information in Younique’s document production.  
      3. The temporal (2015) and geographical limitations Younique has placed on its responses,
         including in its objections of July 13, 2018 to Plaintiffs’ 30(b)(6) notice. 
      4. The existence of profit, loss and cost data. 
      5. Additional correspondence between Ms. Memmott and Ms. Huscroft as discussed in my
         letter of July 12. 
      6. The identities of class members. 

    Please let us know if Younique is willing to produce any of the above material. 

Also, since the discovery cutoff is July 30, please advise whether Younique will consent to
another extension of the schedule of thirty days for discovery and another thirty days for
plaintiffs to file their class certification motion. I do not think we can get these issues resolved
by the Court, let alone review any additional documents before then. The new schedule would
be: 
 


    Case Management Event:                 Prior‐Operative           NEW Date‐Deadline: 

                                           Date‐Deadline: 
    Fact Discovery Cut‐Off                 July 30, 2018             August 31, 2018 
    Last date to disclose experts          August 1, 2018            September 14, 2018 
    Last date for Plaintiffs to file motion  August 1, 2018          September 28, 2018 
    for class certification 



                                                    2
       Case 8:17-cv-01397-JVS-JDE Document 68-1 Filed 07/18/18 Page 6 of 18 Page ID #:445

     Case Management Event:                               Prior‐Operative        NEW Date‐Deadline: 

                                                          Date‐Deadline: 
     Last date for Defendant to file                      September 21, 2018     October 19, 2018 
     opposition to motion for class 
     certification 
     Last date for Plaintiffs to file reply               October 5, 2018        November 2, 2018 
     in support of motion for clast 
     certification 
     Hearing on Plaintiffs’ motion for                    October  15,  2018,  at  November 12, 2018, 
     class certification                                  1:30 p.m.                at 1:30 p.m. 
‐‐ 

Best,

Adam Gonnelli


Best Regards,
Adam Gonnelli, Partner
Gonnellia@TheSultzerLawGroup.com  |  www.TheSultzerLawGroup.com
280 Highway 35, Suite 304 |  Red Bank, NJ 07701
Phone: (845) 483‐7100  |  Fax: (888) 749‐7747
 




                                                      
  
 
NEW YORK  |  PENNSYLVANIA  |  NEW JERSEY  |  CALIFORNIA
 
 
 




                                                                  3
Case 8:17-cv-01397-JVS-JDE Document 68-1 Filed 07/18/18 Page 7 of 18 Page ID #:446




        Dear Judge Early,


        Pursuant to Your Honor’s discovery rules, Plaintiffs in Schmitt v. Younique,
  LLC, No. 8-17-cv-01397 (JVS)(JDE), request a discovery conference. The parties
  have reached an impasse on several important matters.
        I.     Brief Description of Essential Nature of Dispute
         On July 11, 2018, Defendant informed Plaintiffs’ counsel that it is
  Younique’s position that Judge Selna’s grant of a schedule extension on May 29,
  2018 precludes Plaintiffs from conducting depositions other than a single 30(b)(6)
  deposition. Plaintiffs disagree. Plaintiffs argue that the Court’s order says no such
  thing, the parties never contemplated any such limitation, and the fact that
  Younique only produced responsive documents in June supports Plaintiffs’
  position.
         Next, Defendant has refused to produce profit and loss, cost of goods, price,
  and sales information concerning the time period after 2015 and beyond the four
  states in which plaintiffs reside, and have redacted cost and price date from its
  document production. Plaintiffs require this material to conduct a proper damages
  analysis in this class action pursuant to Comcast Corp. v. Behrand, 569 U.S. 27
  (2013).


        II.    The Positions of the Parties On The Issues In Dispute
  Plaintiffs’ position:
     1. Plaintiffs do not believe the discovery extension cut off their ability to
        conduct depositions for three reasons. First, nothing in the Court’s order or
        the parties’ stipulation contemplates anything of the sort. Neither the parties’
        stipulation and proposed Order submitted on May 18 nor the Court’s
        endorsement of the proposed Order suggests that discovery has been limited
        to the depositions listed. The language refers to the depositions of the
        Plaintiffs, defendants’ subpoena of a third-party witness and Plaintiffs’
        30(b)(6), which were the depositions the parties had discussed at the time. It
        does not limit later depositions.



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              Second, Plaintiffs have had no notice of this issue. If the limitation of
        depositions has in fact been Younique’s position since the extension was
        granted, they kept it a secret. The first time Plaintiffs’ counsel became
        aware of defendant’s position on this issue was during a phone call on July
        11, 2018. Had Younique disclosed its position earlier, Plaintiffs would have
        promptly raised the issue with the Court at the time of the request for a
        schedule extension, not now.

               Third, Younique’s position is inconsistent with how discovery has
        progressed. When the court granted the extension on May 29, 2018,
        Plaintiff had served document requests but only received 345 pages in
        response, mostly pictures of products, models, and limited sales figures. It
        was only after an exchange of correspondence and several discussions that
        defendant made a substantive production of 5600 pages on June 6, after the
        extension had been granted. Accordingly, it would have been impossible for
        Plaintiffs to identify proper witnesses before the production let alone
        identify the documents on which to base examination.

     2. Defendant has limited its pricing, sales and cost of goods information to
        2015, arguing that Plaintiffs have alleged the misconduct concerning the
        mascara’s labeling ended in 2015. However, Plaintiffs need the post-2015
        information to conduct a proper damages analysis. See Brazil v. Dole
        Packaged Foods, LLC, No. 12-CV-01831-LHK, 2014 U.S. Dist. LEXIS
        74234, at *60 (N.D. Cal. May 30, 2014) (data before and after
        misrepresentation used for regression analysis).

     3. Defendant has redacted all “costs of goods” data from its production.
        However, like the post-2015 data, Plaintiffs need the information to conduct
        a proper damages analysis. See In re ConAgra Foods, Inc., 90 F. Supp. 3d
        919, 945 (C.D. Cal. 2015) (using “price, cost and attribute data” to conduct
        regression analysis).

     4. Plaintiffs seek to represent a nationwide class but Younique has only
        produced sales data for the four states in which Plaintiffs reside: California,
        Tennessee, Ohio and Michigan. In order to perform a proper damage
        calculation, Plaintiffs require national data.


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     5. Plaintiffs have repeatedly asked for profit and loss data on the mascara
        product and have been told that it does not exist. This is not credible. Every
        business keeps track of its cost of goods and profits on its products. This
        material should be produced.


  [Insert Defendant’s Position]
        III.   Statement of Relief Sought By Plaintiffs
        Plaintiffs request the Court grant the following relief:
     1. Overrule Younique’s objections to depositions based on its argument that
        Judge Selna’s May 29, 2018 Order prohibits additional depositions, and
        permit additional depositions and service of subpoenas to proceed.


     2. Order Younique to produce unredacted copies of all documents where it
        redacted “cost of goods” information.


     3. Order Younique to produce “profit and loss” statements.


     4. Order Younique to produce post-2015 profit and loss, cost of goods, and
        sales information.


     5. Order Younique to produce profit and loss, cost of goods, and sales
        information for all states for which it has not already produced data.


        IV.    Good Faith Efforts to Resolve the Dispute
         The parties have exchanged numerous letters and emails and have had
  detailed conversations about discovery. Indeed, Younique’s production of 5600
  pages of documents on June 6, 2018 was the result of extensive correspondence
  and discussion. The parties also exchanged correspondence on July 12, 13 and 17

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                                   #:449



concerning the deposition issue. Plaintiffs also shared a draft of this submission
with defendant’s counsel on July 17, 2018, but are now at an impasse.


      V.     Dates and Times Agreeable To the Parties For a Conference.


Plaintiffs’ Counsel is available at any time and date.


[Defendant insert times]


      VI.    In Person or Telephonic Conference


Plaintiffs’ counsel prefer an in-person conference.


[Defendant insert preference]




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                                   #:450




               EXHIBIT 2
       Case 8:17-cv-01397-JVS-JDE Document 68-1 Filed 07/18/18 Page 12 of 18 Page ID
                                          #:451




  
From: Adam Gonnelli  
Sent: Tuesday, July 17, 2018 5:08 PM 
To: Sascha Henry <SHenry@sheppardmullin.com> 
Cc: Jonathan Moss <JMoss@sheppardmullin.com>; Abby Meyer <AMeyer@sheppardmullin.com>; Bonner Walsh 
<bonner@walshpllc.com>; Alison Bernal <alison@nps‐law.com> 
Subject: discovery in Younique case 
  

Sascha, 

 To follow up on our correspondence of July 12, 13 and today, I’m writing to confirm that we
are at an impasse on the following discovery issues: 

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     2. The redactions of the cost information in Younique’s document production.  
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     4. The existence of profit, loss and cost data. 
     5. Additional correspondence between Ms. Memmott and Ms. Huscroft as discussed in my
        letter of July 12. 
     6. The identities of class members. 

 Please let us know if Younique is willing to produce any of the above material. 

                                                    1
          Case 8:17-cv-01397-JVS-JDE Document 68-1 Filed 07/18/18 Page 13 of 18 Page ID
                                             #:452
Also, since the discovery cutoff is July 30, please advise whether Younique will consent to
another extension of the schedule of thirty days for discovery and another thirty days for
plaintiffs to file their class certification motion. I do not think we can get these issues resolved
by the Court, let alone review any additional documents before then. The new schedule would
be: 
  


     Case Management Event:                                Prior‐Operative        NEW Date‐Deadline: 

                                                           Date‐Deadline: 
     Fact Discovery Cut‐Off                                July 30, 2018          August 31, 2018 
     Last date to disclose experts                         August 1, 2018         September 14, 2018 
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     for class certification 
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     opposition to motion for class 
     certification 
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     in support of motion for clast 
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     Hearing on Plaintiffs’ motion for                     October  15,  2018,  at  November 12, 2018, 
     class certification                                   1:30 p.m.                at 1:30 p.m. 
‐‐  

Best, 
  
Adam Gonnelli 
  
  
Best Regards, 
Adam Gonnelli, Partner 
Gonnellia@TheSultzerLawGroup.com  |  www.TheSultzerLawGroup.com 
280 Highway 35, Suite 304 |  Red Bank, NJ 07701 
Phone: (845) 483‐7100  |  Fax: (888) 749‐7747 
  




                                                      
  
  
NEW YORK  |  PENNSYLVANIA  |  NEW JERSEY  |  CALIFORNIA 
                                                                   2
Case 8:17-cv-01397-JVS-JDE Document 68-1 Filed 07/18/18 Page 14 of 18 Page ID
                                   #:453




               EXHIBIT 3
       Case 8:17-cv-01397-JVS-JDE Document 68-1 Filed 07/18/18 Page 15 of 18 Page ID
                                          #:454




From: Adam Gonnelli  
Sent: Wednesday, July 18, 2018 4:35 PM 
To: Jonathan Moss <JMoss@sheppardmullin.com> 
Cc: Abby Meyer <AMeyer@sheppardmullin.com>; Bonner Walsh <bonner@walshpllc.com>; Alison Bernal <alison@nps‐
law.com>; Sascha Henry <SHenry@sheppardmullin.com> 
Subject: RE: discovery in Younique case 
  
Jonathan, 
Thank you for your follow up, and as you are aware time is short for this discovery dispute to
be aired before the Court. Could you please let us know by close of business today whether or
not you oppose the extensions we proposed yesterday. 
  
Thanks. 
  
  
Best Regards, 
Adam Gonnelli, Partner 
Gonnellia@TheSultzerLawGroup.com  |  www.TheSultzerLawGroup.com 
280 Highway 35, Suite 304 |  Red Bank, NJ 07701 
Phone: (845) 483‐7100  |  Fax: (888) 749‐7747 
  




                                                
  

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         Case 8:17-cv-01397-JVS-JDE Document 68-1 Filed 07/18/18 Page 16 of 18 Page ID
                                            #:455
  
NEW YORK  |  PENNSYLVANIA  |  NEW JERSEY  |  CALIFORNIA 
  
  
  
From: Jonathan Moss [mailto:JMoss@sheppardmullin.com]  
Sent: Wednesday, July 18, 2018 4:25 PM 
To: Adam Gonnelli <Gonnellia@thesultzerlawgroup.com> 
Cc: Abby Meyer <AMeyer@sheppardmullin.com>; Bonner Walsh <bonner@walshpllc.com>; Alison Bernal <alison@nps‐
law.com>; Sascha Henry <SHenry@sheppardmullin.com> 
Subject: RE: discovery in Younique case 
  
Adam,  
  
We will try to get you Younique’s position with respect to your email by close of business today.  But due to short notice 
and scheduling issues, we may not be able to provide until tomorrow morning.      
  
Jonathan Moss 
213.617.5504 | direct 
213.443.2769 | direct fax 
JMoss@sheppardmullin.com | Bio 
  
SheppardMullin 
Sheppard Mullin Richter & Hampton LLP
333 South Hope Street, 43rd Floor
Los Angeles, CA 90071-1422 
213.620.1780 | main 
www.sheppardmullin.com 
  
  
From: Adam Gonnelli [mailto:Gonnellia@thesultzerlawgroup.com]  
Sent: Tuesday, July 17, 2018 3:21 PM 
To: Sascha Henry <SHenry@sheppardmullin.com> 
Cc: Jonathan Moss <JMoss@sheppardmullin.com>; Abby Meyer <AMeyer@sheppardmullin.com>; Bonner Walsh 
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Adam Gonnelli 
  
Best Regards, 
Adam Gonnelli, Partner 
Gonnellia@TheSultzerLawGroup.com  |  www.TheSultzerLawGroup.com 
280 Highway 35, Suite 304 |  Red Bank, NJ 07701 
                                                                   2
        Case 8:17-cv-01397-JVS-JDE Document 68-1 Filed 07/18/18 Page 17 of 18 Page ID
                                           #:456
Phone: (845) 483‐7100  |  Fax: (888) 749‐7747 
  




                                                      
  
  
NEW YORK  |  PENNSYLVANIA  |  NEW JERSEY  |  CALIFORNIA 
  
  
  
From: Adam Gonnelli  
Sent: Tuesday, July 17, 2018 5:08 PM 
To: 'Sascha Henry' <SHenry@sheppardmullin.com> 
Cc: Jonathan Moss <JMoss@sheppardmullin.com>; Abby Meyer <AMeyer@sheppardmullin.com>; Bonner Walsh 
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                                                           3
          Case 8:17-cv-01397-JVS-JDE Document 68-1 Filed 07/18/18 Page 18 of 18 Page ID
                                             #:457
     Case Management Event:                                Prior‐Operative        NEW Date‐Deadline: 

                                                           Date‐Deadline: 
     Fact Discovery Cut‐Off                                July 30, 2018          August 31, 2018 
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     for class certification 
     Last date for Defendant to file                       September 21, 2018     October 19, 2018 
     opposition to motion for class 
     certification 
     Last date for Plaintiffs to file reply                October 5, 2018        November 2, 2018 
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     certification 
     Hearing on Plaintiffs’ motion for                     October  15,  2018,  at  November 12, 2018, 
     class certification                                   1:30 p.m.                at 1:30 p.m. 
‐‐  

Best, 
  
Adam Gonnelli 
  
  
Best Regards, 
Adam Gonnelli, Partner 
Gonnellia@TheSultzerLawGroup.com  |  www.TheSultzerLawGroup.com 
280 Highway 35, Suite 304 |  Red Bank, NJ 07701 
Phone: (845) 483‐7100  |  Fax: (888) 749‐7747 
  




                                                      
  
  
NEW YORK  |  PENNSYLVANIA  |  NEW JERSEY  |  CALIFORNIA 
  
  
  
Attention: This message is sent by a law firm and may contain information that is privileged or confidential. If you 
received this transmission in error, please notify the sender by reply e‐mail and delete the message and any 
attachments.  



                                                                   4
